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      'AO 245B (CASD) (Rev, 8111) Judgment in a Criminal Case
                Sheet I



                                              UNITED STATES DISTRICT COUll!HAR -. AM to= 23:
                                                   SOUTHERN DISTRICT OF CALIFORNIACd,J':\'_',                                         E}CcTt,fl?~~\'"
                     UNITED STATES OF AMERICA                                      JUDGMENT IN AiCiUMINA~SE                                        !
                                        v.                                         (For Offenses Committed On or After                 ber I, ~Y
                                                                                                                'I '("

                            FELIPE RANGEL [4]                                      Case Number: lOCR2154-BTM

                                                                                    ROBERT REXRODE
                                                                                   Defendant's Attorney
     REGISTRATION NO. 20508298

     o
     THE DEFENDANT:
     ~ pleaded guilty to count(s) 1 OF THE SUPERSEDING INFORMATION

      o    was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
     Title & Section                         Nature of Offense                                                                              Number(s)
21 U.S.c. 856(a)(2)                   MAINTAINING A DRUG-INVOLVED PREMISES                                                                  1




        The defendant is sentenced as provided in pages 2 through _ _4.:....-_ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s)
                                                            ---------------------------
  ~ Count(s) Underlying Indictment                                  ~                is       areD dismissed on the motion of the United States.
  181 Assessment: $\00 to be paid at the rate of$25.00 per quarter through the Inmate Financial Responsibility Program.

  181 Fine waived                                   o    Forfeiture pursuant to order filed
                                                                                                -------- , incorporated herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change ofname, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney ofany material change in the defendant's economic circumstances.

                                                                               FEBRUARY 24, 2012




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                              lOCR2154-BTM
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AO 245B (CASD) (Rev. 8111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                           Judgment -~ Page _ _2 _ of       4
 DEFENDANT: FELIPE RANGEL [4]
 CASE NUMBER: lOCR21S4-BTM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a tenn of
         THIRTY-SIX (36) MONTHS.                                                         ~-:;::#-


                                                                                         L~OWI1~
    o Sentence imposed pursuant to Title 8 USC Section 1326(b).                           UNITED STATES DISTRICT JUDGE
    Ig] The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the 500 hour RDAP program.




    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    Ig] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         Ig] before April 6, 2012 at 12:00P.M. or to this court by 2:00P.M. on that same date.
          D as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                   By ________~~~~~~~-------------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                 lOCR2154-BTM
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AO 245B (CASD) (Rev.811l) Judgment in a Criminal Case
           Sheet 3 Supervised Release
                                                                                                                                                  4
DEFENDANT: FELIPE RANGEL [4]
CASE NUMBER: lOCRl154-BTM                                                                            •
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with llie requirements of the Sex Offender Registration ano Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of tbe court or probation officer;
  2)     tbe defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     tbe defendant shall refrain from excessive use of alcohol and sball not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     tbe defendant shall not frequent places wbere controlled substances are illegally sold, used, distributed, or administered;
  9)     tbe defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant sball permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency witbout the
         permission of the court; and
 13)     as directed by the probation officer, the defendant sbaH notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or cbaracteristics and sball permit the probation officer to make such notifications and to confirm tbe
         defendant's compliance witb such notification requirement.

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       AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
                   Sheet 4 .~. Special Conditions
                                                                                                        Judgment~.Pa!!e   --L.. of +-_4..;...._ _
       DEFENDANT: FELIPE RANGEL [4J                                                                a
       CASE NUMBER: lOCR2154-BTM




                                                SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time ~d in a
    reasonable qlanner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failur~ to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searc~es pursuant to
    this condition.                                                                                                               '
181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per mQnth and I to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fo~.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of tljIe pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defenliant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health prdvider.



D Reside in a Sober Living Facility for One (I) year after release from the RRC.
D Abstain from all use of Alcohol.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 90 days upon release.
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                     lOCR2154-BTM
